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[B2500e] [Summons to Debtor in Involuntary Case for Summary Judgment]

                                       UNITED STATES BANKRUPTCY COURT
                                          MIDDLE DISTRICT OF FLORIDA
                                               ORLANDO DIVISION

In re:             Richert Funding, LLC                                         Case No. 6:18−bk−06276−KSJ
                   4319 35th Street                                             Chapter 7
                   Suite A
                   Orlando, FL 32811


________Debtor*________/


                                SUMMONS TO DEBTOR IN INVOLUNTARY CASE

To the above named debtor:

           A petition under title 11, United States Code was filed against you in this bankruptcy court on 10/11/18,
requesting an order for relief under chapter 7 of the Bankruptcy Code (title 11 of the United States Code).

            YOU ARE SUMMONED and required to file with the clerk of the bankruptcy court a motion or answer to
the petition within 21 days after the service of this summons. A copy of the petition is attached.

                      Address of the clerk:      George C. Young Federal Courthouse
                                                 400 West Washington Street
                                                 Suite 5100
                                                 Orlando, FL 32801


At the same time, you must also serve a copy of your motion or answer on petitioner's attorney.

               Name and Address of         Aldo G Bartolone Jr
               Petitioner's Attorney:      4767 New Broad Street
                                           Orlando, FL 32814

If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 1011(c).

If you fail to respond to this summons, the order for relief will be entered.




                                              Sheryl L. Loesch
                                              Clerk of Court



* Set forth all names, including trade names, used by the debtor within the last 8 years. (Fed. R .Bankr. P. 1005).
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                                          CERTIFICATE OF SERVICE

           I, _______________________________(name), certify that on ___________________(date), I served this
summons and a copy of the involuntary petition on _______________________________(name), the debtor in this
case, by [describe the mode of service and the address at which the debtor was served]:




            If service was made by personal service, by residence service, or pursuant to state law, I further certify
that I am, and at all times during the service of process was, not less than 18 years of age and not a party to the matter
concerning which service of process was made.

            Under penalty of perjury, I declare that the foregoing is true and correct.



                Date_________________             Signature _____________________________________


                                               Print Name: ________________________________


                                        Business Address: ________________________________


                                                             ________________________________


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